            Case 1:21-cr-00090-PLF Document 29 Filed 04/23/21 Page 1 of 11




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                      :
                                              :
                v.                            :
                                              :       Case Number 21-cr-90-PLF
NATHANIEL DEGRAVE,                            :
                                              :
                       Defendant.             :



             GOVERNMENT’S SECOND SUPPLEMENT TO ITS OPPOSITION
                    TO DEFENDANT’S MOTION FOR BOND


       On April 14, 2021, the Court issued a Memorandum Opinion and Order directing the

parties, among other things, to “file supplemental briefs addressing whether Judge Friedrich’s

decision and analysis in relation to Mr. Sandlin also supports detaining Mr. DeGrave, or whether,

in view of the relative culpability of the two defendants and the reasons discussed by Judge

Friedrich, that decision supports releasing Mr. DeGrave.” Mem. Op. at 2, ECF No. 28. The

Court also instructed the parties to address recent pretrial detention decisions by other Judges in

this District in relation to Capitol riot defendants as well as propose release conditions should the

defendant’s bond motion be granted.

       Accordingly, the government requests that the following facts, points, and authorities, as

well as any other facts, arguments, and authorities presented at the upcoming bond hearing, be

considered in the Court’s determination regarding pretrial detention.

       I.       The Defendant Is More Similarly Situated to Sandlin and Sabol Than to Klein
                and Munchel

       As the D.C. Circuit recently instructed in the Munchel decision, “those who actually

assaulted police officers and broke through windows, doors, and barricades, and those who aided,
            Case 1:21-cr-00090-PLF Document 29 Filed 04/23/21 Page 2 of 11




conspired with, planned, or coordinated such actions, are in a different category of dangerousness

than those who cheered on the violence or entered the Capitol after others cleared the way.” United

States v. Munchel, No. 21-3010, at *8 (D.C. Cir. Mar. 26, 2021) (citation omitted). The defendant

clearly falls within the former category of Capitol riot defendants.

           As the Court must consider the four factors outlined in 18 U.S.C. § 3142(g) when

determining whether there are conditions of release that will reasonably assure the safety of the

community, the government will outline its comparison of the defendant to the pretrial detention

decisions cited in the Court’s Memorandum Opinion and Order within a discussion of those four

factors.

                 A. Nature and Circumstances of the Offenses Charged

           As surveillance video and other footage provided to the Court shows, the defendant

assaulted multiple law enforcement officers on January 6 and impeded their ability to do their job.

Specifically, he tussled with a U.S. Capitol Police officer as he, co-conspirator Ronald Sandlin,

and others prevented officers from locking a set of doors to the Senate Chamber balcony.

Immediately thereafter, he bragged that he “punched this guy, like, five times in the fucking

neck.” 1 He did so in an attempt to gain access to where the Senators had been conducting the

Electoral College vote certification, as evidenced by footage obtained from co-conspirator Josiah

Colt’s GoPro camera in which Colt leads the defendant and Sandlin through the Capitol

exclaiming, “let’s get to the Senate, bro…where they’re meeting” and “no looking back now,

boys…we gotta get to the Senate.” Upon breaching the Senate Chamber, Colt exclaims multiple

times, in surprise, “it’s empty.” 2 Suffice to say, this trio believed they were headed toward a direct


1
  The timing and context of his statement make clear he was referring to his assault on law enforcement just
moments before. This interpretation is corroborated by witness testimony. Footage depicting this statement by the
defendant has been provided to Chambers.
2
  Footage depicting these statements has been provided to Chambers.
             Case 1:21-cr-00090-PLF Document 29 Filed 04/23/21 Page 3 of 11




confrontation with Senators certifying the vote count for what they believed was a fraudulent

election.

           In the Sabol pretrial detention decision, Judge Sullivan cited the “guideposts” articulated

by Chief Judge Howell in the Chrestman decision to assess “the comparative culpability of a given

defendant in relation to fellow rioters.” U.S. v. Sabol, 21-cr-0035 (EGS) (D.D.C. April 14, 2021)

[Dkt. No. 56], at *28-29 (quoting U.S. v. Chrestman, 2021 WL 765662, at *7-8 (D.D.C. 2021)).

These guideposts include: “(1) whether the defendant has been charged with felony or

misdemeanor offenses; (2) the extent of the defendant’s prior planning, for example, by obtaining

weapons or tactical gear; (3) whether the defendant used or carried a dangerous weapon; (4)

evidence of coordination with other protestors before, during, or after the riot; (5) whether the

defendant played a leadership role in the events of January 6, 2021; and (6) the defendant’s words

and movements during the riot—e.g., whether the defendant remained only on the grounds

surrounding the Capitol or stormed into the Capitol interior, or whether the defendant injured,

attempted to injure, or threatened to injure others.” Id. at *28 (citing Chrestman, 2021 WL 765662,

at *7-8) (internal quotation marks omitted).

           Like fellow rioters Sabol and Sandlin, the majority of these guideposts “strongly support a

finding that [the defendant’s] comparative culpability in relation to his fellow rioters is high.” See

id. at *29. With respect to the first guidepost, the defendant has been charged with multiple

felonies, including an assault on a federal officer and obstruction of an official proceeding. The

defendant also aided and abetted the mob assault on three outnumbered officers near the Rotunda

door, which allowed dozens if not hundreds of rioters outside the Capitol to breach the building

and wreak further havoc, including law enforcement assaults, inside. 3



3
    Footage depicting this mob assault has previously been provided to Chambers.
             Case 1:21-cr-00090-PLF Document 29 Filed 04/23/21 Page 4 of 11




           Regarding the second guidepost, like Sabol and Sandlin, and unlike Klein and Munchel,

the defendant “engaged in prior planning that suggests his assaultive conduct and civil disorder

did not merely arise in the context of a hysterical throng.” See id. Like Sabol, he and his co-

conspirators amassed paramilitary gear and weapons—including guns, knives, bear mace, and a

stun gun—and drove them cross country to the D.C. area. Like Sabol, even though the defendant

made statements indicating he was “anticipat[ing] encountering counter-protesters” such as Antifa,

it is undisputed that he was planning for, and to some extent reveling in the prospect of, violence.

See id. at *30. Indeed, he sought out firearms training from “special forces or ex fbi” for a “very

patriotic cause” just days before the riot. Like Sabol and Sandlin, the defendant believed the 2020

Presidential Election was fraudulent and expressed sentiments such as “stop the steal” and “do not

certify” in the days leading up to January 6, adding publicly on Facebook that he was “ready to do

what is necessary to save the country.” As seen on footage of the defendant walking towards the

Capitol, he exclaimed that he was “readier than ever.” 4 Like Sabol and Chrestman, “this amount

of prior planning and intentionality suggests that he was not just caught up in the frenzy of the

crowd, but instead came to Washington, D.C. with the intention of causing mayhem and disrupting

the democratic process.” Id. at *30-31 (citing Chrestman, 2021 WL 765662, at *8). This prior

planning sheds light on the defendant’s mental state and the lengths to which he will go to achieve

his political ends, thereby distinguishing him from other rioters, such as Klein and Munchel, who

have been released on conditions pending trial. See United States v. Klein, 21-cr-236 [Dkt. No.

29] at *13-14 (D.D.C. 2021); United States v. Munchel, 2021 WL 1149196, at *8 (D.C. Cir. March

26, 2021).




4
    Footage depicting this moment has been provided to Chambers.
             Case 1:21-cr-00090-PLF Document 29 Filed 04/23/21 Page 5 of 11




           As to the third guidepost, there is no evidence at present that the defendant carried a weapon

inside the Capitol that day, though he had access to the two knives and bear mace carried by his

co-conspirators, of whom he was within a few feet for the vast majority of his time on Capitol

grounds. In addition, the defendant brought his own bear mace to the D.C. area, which he

presumably, like his co-conspirator Colt, would have brought inside the Capitol had it not

discharged prematurely the night before. And of course, the defendant did not need weapons that

day to assault law enforcement and prevent them from securing the Capitol.

           As discussed above, regarding the fourth guidepost, the defendant coordinated and planned

for violence with his co-conspirators Colt and Sandlin before January 6. During the riot itself, he

contributed to a mob that assaulted law enforcement and forced an exterior door open, assisted

others in wrestling the Senate Chamber doors open from U.S. Capitol Police officers, and

instructed rioters who had lowered themselves from the balcony to the Senate Chamber to “take

laptops, paperwork, take everything…all that shit.” 5 Immediately before this statement, he tried

to corral his fellow rioters, shouting that “we need everybody in here now.” The defendant and

Colt also carried walkie talkies with them inside the Capitol, presumably to coordinate if needed.

With respect to coordinated actions after the riot, there is evidence that the defendant

communicated with his co-conspirators via encrypted messaging applications about potentially

selling their footage from January 6.

           With respect to the final two guideposts, on the record before her, Judge Friedrich found

that Sandlin had assumed a leadership role with respect to this group of individuals. However,

during Sandlin’s calls for violence immediately preceding the riot—e.g., by urging fellow

“patriots” to “take the Capitol” and repeating his battle cry, “freedom is paid for with blood”—the



5
    Footage of this moment has been provided to Chambers.
           Case 1:21-cr-00090-PLF Document 29 Filed 04/23/21 Page 6 of 11




defendant was right by his side and chimed in with his own rhetoric, amping himself and the other

two up for violent confrontation. Finally, as detailed above, his words and movements both before

and during the riot demonstrate that he “acted deliberately and dangerously.” Sabol, 21-cr-0035,

at *35.

          Like Sabol and Sandlin, the defendant’s actions “evince a clear disregard for the law, an

aversion to the fundamental tenants of our democracy, and a willingness to act violently” in support

of his ideology, “all of which indicate that he poses a danger to the community.” Id. at *43.

Accordingly, the first § 3142(g) factor clearly weighs in favor of detention.

                 B. Weight of the Evidence Against the Defendant

          The defendant is captured on surveillance and other footage committing assaults and

engaging in other illegal activity. While the defendant disputes that he made physical contact with

law enforcement inside the Capitol, video footage provided to the Court belies this claim. His own

contemporaneous statements similarly refute his claim, as he bragged to a co-conspirator following

the hallway assault that he “punched this guy, like, five times in the fucking neck.”

          Videos recorded by co-conspirators as well as his own statements on Facebook

demonstrate the defendant’s arguable eagerness to engage in violence on January 6 to defend his

ideals—from a solicitation of firearms training for a “patriotic cause,” to invitations to Antifa to

“bring it,” to his call to “put an end to [the lies] once and for all.” His acts of bringing bear mace

and protective gear, military-grade or not, and actually wearing that gear on January 6 further

bolsters this notion. These actions, combined with his statements reflecting an agenda to “stop the

steal” and prevent the certification of the 2020 Presidential Election, also serve as compelling

evidence of his intent to obstruct the Electoral College proceedings on January 6 when he breached
         Case 1:21-cr-00090-PLF Document 29 Filed 04/23/21 Page 7 of 11




the Capitol and assaulted law enforcement inside. This second factor thus also weighs heavily in

favor of detention.

               C. Defendant’s History and Characteristics

       Like Sabol, Sandlin, Munchel, and Klein, the defendant has limited criminal history. Also

like many of these defendants, the defendant’s friends and family have submitted character letters

in support of his release. While his recent conduct may have indeed been an aberration to those

who know him, the defendant’s willingness, if not eagerness, to act violently in support of his

ideology and beliefs about an allegedly stolen election should give this Court great concern about

the defendant’s character and state of mind at present and the danger he would pose to the

community if released. See id. at *49. Indeed, while he has expressed remorse to the Court through

his counsel, well after January 6 the defendant was seeking to publicize and profit from his conduct

in the form of selling video footage of the riot—not exactly the actions of someone who believed

his conduct was wrong or shameful.

       Furthermore, his recent conduct befits a person willing and able to obstruct justice in this

case. Like Sandlin and Sabol, he destroyed evidence that could be used against him in a criminal

prosecution and, like Sabol, instructed others to do so as well. He communicated with his co-

conspirators and others after the fact about the events at the Capitol via encrypted messaging apps.

And he harbored Sandlin in his home and lied to the FBI after being clearly advised of his rights.

By contrast, there was no evidence that Klein or Munchel engaged in obstructive behavior after

January 6. In this case, in which there are two non-detained key witnesses who witnessed much

of the defendant’s illegal conduct leading up to and on January 6, there is a real risk that the

defendant could seek to tamper with witnesses if he were released, particularly in light of his prior

obstructive conduct.
         Case 1:21-cr-00090-PLF Document 29 Filed 04/23/21 Page 8 of 11




       While many judges in these Capitol riot cases have found that a lack of criminal history

and evidence of good character before January 6 tip the balance, if only slightly, in favor of release

on this third factor, the defendant’s conduct during and after the riot paint an alarming and more

recent picture of his character that militates in favor of detention. See United States v. Robertson,

608 F. Supp. 2d 89, 92 (D.D.C. 2009) (Lamberth, J.) (detaining defendant pending trial solely on

obstruction of justice grounds).

               D. Nature and Seriousness of Danger Posed by Defendant’s Release

       Like Sandlin and Sabol, there is no combination of release conditions that will reasonably

assure the safety of the community, or the integrity of this proceeding, if the defendant were to be

released. In an effort not to repeat the prior discussion, given that this fourth factor “encompasses

much of the analysis set forth above,” the government will focus on the inability of release

conditions to address the danger and obstruction risk posed by the defendant. See United States v.

Cua, 2021 WL 918255, at *5 (D.D.C. 2021).

       Like Sabol and Sandlin, the defendant’s “history of a productive and peaceful life did not

prevent him from committing horrific acts on January 6, 2021,” or from planning for violence with

excitement and anticipation, which should “inform the Court’s view of his propensity for further

violence” if released. Sabol, 21-cr-0035, at *58. Like Sabol and Sandlin, he has displayed a

sincerely held but misguided belief that the election was stolen, and he acted on those beliefs using

violence. As displayed in the video recorded by the defendant after Colt jumped down into the

Senate Chamber, he believed they “made history” in breaching the Capitol that day. And like

Sandlin, he sought to celebrate and publicize his actions by selling footage of the riot and giving

interviews.
           Case 1:21-cr-00090-PLF Document 29 Filed 04/23/21 Page 9 of 11




          In light of his actions leading up to and on January 6, as well as his documented mistrust

of democratic institutions, including the courts where, in his words, “corruption is endless,” it is

hard to see how the Court could have any confidence that the defendant will not engage in

obstructive or violent behavior were he to be released, or that he will comply with the Court’s

orders.

          Importantly, the danger the defendant poses is concrete and continuing. See Munchel, 2021

WL 1149196, at *4. While the unique circumstances of January 6 may have passed, the

defendant’s recent willingness to engage in violence and motivation for doing so most likely have

not. Like Sabol, “there is ample reason to believe that fight is not finished for [the defendant] and

others like him, making the threat of further violence present, concrete, and continuing.” See

Sabol, 21-cr-0035, at *61-62 (citing various articles describing former President Trump’s recent

and continued remarks that the election was stolen). Indeed, on January 24, 2021, the defendant

posted a picture of a poster of former President Trump on his wall, stating “My idol in my living

room.” The defendant is of course entitled to his political preferences. But given his prior acts of

traveling across the country with weapons to “stop the steal” and interfering with the peaceful

transition of power on behalf of his idol, and his idol’s continued inflammatory rhetoric about a

stolen election, the defendant continues to pose a concrete and articulable threat to the community.

          The defendant also poses a concrete and prospective threat to this proceeding, given his

prior obstructive acts. In particular, the defendant has shown that he is savvy and determined

enough to communicate with others about the events at the Capitol via encrypted messaging

applications, and it is unclear whether device monitoring—if offered by the local Pretrial Services

Agency at all—would be able to detect such communications. Moreover, the defendant has offered
         Case 1:21-cr-00090-PLF Document 29 Filed 04/23/21 Page 10 of 11




no proposed custodian to ensure that he does not utilize devices that are not monitored, a critical

step which would have demonstrated a serious commitment to comply with the Court’s orders.

       As Judge Friedrich articulated with respect to Sandlin, while the defendant’s “ability to

commit future acts of violence or obstruction could be hindered by stringent conditions of release,”

this does not mean he would not pose a continued danger to the community based on his

premeditated violent acts in service of his ideology on January 6. See Hr’g Transcript, U.S. v.

Sandlin, 21-cr-88, at 20 (Apr. 13, 2021). Like Sandlin and Sabol, the defendant was well prepared

to commit acts of violence that day, and that is ultimately what he did. And, despite a few self-

serving social media posts, he relished in it, as evidenced by his efforts to produce a documentary

using the footage he and his co-conspirators recorded during the riot.

       II.     Proposed Release Conditions, Should the Court Grant the Defendant’s Motion

       For the above reasons, the government submits that there is clear and convincing evidence

that the defendant poses a serious risk to obstruct justice and that he is a danger to the community,

and that there is no condition or combination of conditions that will reasonably assure the safety

of the community, or the integrity of this proceeding, if he were to be released. The Court should

therefore deny his motion for bond.

       If, however, the Court determines that release is appropriate in this case, the government

would request that the Court impose the following conditions: (1) home confinement with GPS

monitoring and a third-party custodian; (2) restriction on the use of electronic devices solely for

the purposes of work, medical appointments, and preparation of his defense in this case; (3)

prohibition on the use of encrypted applications and software; (4) prohibition on contacting
          Case 1:21-cr-00090-PLF Document 29 Filed 04/23/21 Page 11 of 11




witnesses in this case except through his counsel; (5) monitoring of pre-approved devices by

Pretrial Services for compliance with the prior conditions; 6 and (6) other standard conditions.



                                                      Respectfully submitted,

                                                      CHANNING D. PHILLIPS
                                                      ACTING UNITED STATES ATTORNEY
                                                      D.C. Bar No. 415793

                                                      By: /s/ Jessica Arco___________________
                                                      Jessica Arco
                                                      Special Assistant U.S. Attorney
                                                      D.C. Bar No: 1035204
                                                      U.S. Attorney’s Office for the District of Columbia
                                                      555 Fourth Street NW, Fourth Floor
                                                      Washington, DC 20530
                                                      Jessica.arco2@usdoj.gov
                                                      202-252-5198

Date: April 23, 2021




6
 It is unclear whether the local Pretrial Services Agency, presumably in Las Vegas, offers this service, but the
government will attempt to confirm. Device monitoring, for example, is not available in D.C.
